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                                EXHIBIT 29



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
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 1                UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
 2
 3
         IN RE: OIL SPILL                MDL NO. 2179
 4       BY THE OIL RIG
         "DEEPWATER HORIZON"             SECTION:       J
 5       IN THE GULF OF
         MEXICO ON APRIL 20,             JUDGE BARBIER
 6       2010                            MAG. JUDGE SHUSHAN
 7




13
14
              Deposition of JIM W. BRYAN, taken in
15     the Pan American Life Center, Bayou Room,
       11th Floor, 601 Poydras Street, New
16     Orleans, Louisiana 70130, on Friday, May 6,
       2011.
17
18
19     APPEARANCES:
20
21                KIRKLAND & ELLIS LLP
                  (By: Ryan Micallef, Esquire)
22                300 North LaSalle
                  Chicago, Illinois 60654
23                    (Attorneys for BP)
24
25

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 1             MR. FINEMAN:
 2                      Can I have Tab 12, please?
 3      EXAMINATION BY MR. FINEMAN:
 4             Q.       Okay.      I'm going to give you
 5      what's been previously marked as
 6      Exhibit 1915, ANA-MDL-000041237.
 7             A.       Okay.
 8                      (Whereupon, the document
 9      referred to was previously marked as
10      Exhibit No. 1915 for identification.)
11      EXAMINATION BY MR. FINEMAN:
12             Q.       This document is e-mails dated
13      October 20, 2009.            I believe you're on the
14      distribution list of the e-mail -- the
15      second of the e-mails; is that correct?
16             A.       The one at the top of the page?
17             Q.       Yes.
18             A.       Yes, sir.        That is correct.
19             Q.       And this is an e-mail from
20      Mr. Huch in which he's saying: I told BP
21      late yesterday that we'd be recommending
22      Option 1 to our management.                 BP has agreed
23      and is going to do likewise.
24                      You see that?
25             A.       Yes, I do.

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 1             Q.       And then Option 1 is described
 2      below.      You see that?          It's in the earlier
 3      e-mail.
 4             A.       Yes, uh-huh.
 5             Q.       To the best of your knowledge,
 6      was that the ultimate -- the deal that was
 7      ultimately struck as described in Option 1?
 8             MR. MICALLEF:
 9                      Object to form.
10             MR. FINEMAN:
11                      You can answer.
12             THE WITNESS:
13                      Yes.      Yes, that was the --
14      ultimately, the -- the prospect Sawatch and
15      Tobacco Root were the prospects that --
16      that were -- or the leases that were traded
17      comprised those two prospects.
18      EXAMINATION BY MR. FINEMAN:
19             Q.       Okay.      And in that option, which
20      ultimately became the deal, it says:                      We
21      pay one-third for one-quarter of the well
22      costs.
23                      Do you see that?
24             A.       Yes.
25             Q.       What does that mean?

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 1      that you didn't play any role in drafting
 2      or preparing the documents.                 Did you review
 3      the transaction documents before they were
 4      executed?
 5              A.       As I recall, I was not in the
 6      office when they were executed.                   And so, I
 7      don't think I saw the exact final draft
 8      execution, you know, documents.                   I probably
 9      saw some iterations of those prior to that.
10              MR. FINEMAN:
11                       I'm going to give you documents
12      marked 1942, APC-SHS2A-000008493 through
13      8523.        It's Tab 21.
14                       (Whereupon, the document
15      referred to was marked as Exhibit No. 1942
16      for identification.)
17      EXAMINATION BY MR. FINEMAN:
18             Q.        Do you recognize this document,
19      Mr. Bryan?
20              A.       I do.
21             Q.        What is this document?
22              A.       It is a Lease Exchange
23      Agreement.
24             Q.        And what does this Lease
25      Exchange Agreement show us or tell us?

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 1             A.       Well, among many things --
 2             MR. NEGER:
 3                      Objection to form.
 4      EXAMINATION BY MR. FINEMAN:
 5             Q.       What is the purpose of this
 6      document?
 7             A.       It was -- the purpose of the
 8      document was to effect an exchange of four
 9      leases that our company owned with one
10      lease that BP owned.
11             Q.       Okay.      The document is between
12      BP Exploration Production Inc., Anadarko
13      Petroleum Corporation, and Anadarko E&P
14      Company; correct?
15             A.       Correct.
16             Q.       Okay.      Turn to the second page
17      of the document.
18                      There's -- in items 1.4, 1.5,
19      1.6, those are the identities of the
20      properties at issue; correct?
21             A.       Yes.
22             Q.       Okay.      So the properties that
23      Anadarko E&P -- or the transferring or the
24      interests in those properties that are
25      being transferred are described in 1.5;

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 1                      We are -- he has a similar
 2      attorney-in-fact -- designation, as I do
 3      from the company.            So, therefore, he is
 4      the -- sort of my backup, if you will.
 5      BY MR. FINEMAN:
 6             Q.       What does "attorney-in-fact"
 7      mean in the context in which you just used
 8      it?
 9             A.       It means that me and others that
10      are -- that are designated by the company
11      to be an agent and attorney-in-fact or
12      attorney-in-fact are authorized to execute
13      certain documents.
14             Q.       And, again -- okay.
15             MR. FINEMAN:
16                      Tab 20 is the next document.
17      This is 1943, ANA-MDL-000030613, through
18      30650.
19                      (Whereupon, the document
20      referred to was marked as Exhibit No. 1943
21      for identification.)
22      EXAMINATION BY MR. FINEMAN:
23             Q.       This document is entitled
24      Macondo Prospect Well Participation
25      Agreement, Deepwater Gulf of Mexico.

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 1      Correct?
 2             A.       Yes.
 3             Q.       Do you recall this document?
 4             A.       I do.
 5             Q.       Okay.      What is this document?
 6             A.       This is the document that --
 7      that sets forth the provisions of the
 8      participation by Anadarko in the drilling
 9      of the -- of the Mississippi Canyon 252
10      Macondo well.
11             Q.       Is this document the document
12      that essentially lays out the economic
13      terms of the relationship between Anadarko
14      and BP with respect to the well?
15             A.       Yes.
16             Q.       Okay.      Can you -- this document,
17      by the way is -- the same was true, I
18      think, of the Lease Exchange Agreement and
19      the same will be true of the Operating
20      Agreement.        The documents were signed on
21      December 17, 2009, effective October 1,
22      2009; is that correct?
23             A.       They're dated the 17th.                I
24      actually think that they were signed after
25      the 17th but dated the 17th.

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 1              A.      Because Kerr-McGee Oil and Gas
 2      Corporation is a 25 percent owner in
 3      Pompano, and certain provisions were being
 4      made for Pompano.            And so that's the reason
 5      they -- they were listed as well.
 6             Q.       And this goes back to our
 7      discussion earlier about the potential tie
 8      back to Pompano; correct?
 9              A.      Yes.
10             Q.       Okay.      So Kerr-McGee was made a
11      part of the Well Participation Agreement,
12      because you needed their -- that company's
13      consent for the tie back provisions that
14      appear in this document; is that correct?
15              A.      Yes.
16             Q.       But Kerr-McGee had no
17      participation interest in the Macondo
18      Prospect; correct?
19              A.      That is correct.
20             Q.       Okay.      In Recital B on the first
21      page?
22              A.      Okay.
23             Q.       It says that APC -- that's
24      Anadarko Petroleum; correct?
25              A.      Yes.

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 1              Q.       Okay.      Have you seen this
 2      document before?
 3              A.       I have.
 4              Q.       Okay.      What is this?
 5              A.       This is the -- the document that
 6      Anadarko E&P and Anadarko Petroleum
 7      Corporation signed to effectively join the
 8      operator.        The operator was executed prior
 9      to our participation.
10              Q.       Okay.      So if you turn to the
11      next page, the -- yes.               Right there.
12              A.       Okay.
13              Q.       This document is dated
14      October 1, 2009.            It was executed
15      December 17, 2009; correct?
16              A.       Correct.
17              Q.       And it is signed on behalf of
18      Anadarko E&P and Anadarko Petroleum by
19      Mr. Wallace; correct?
20              A.       That is correct.
21              Q.       Did you participate in -- well,
22      strike that.
23                       This -- all this joinder does is
24      indicate your participation in the
25      operating agreement; is that correct?

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 1              MR. MICALLEF:
 2                       Object to form.
 3      EXAMINATION BY MR. FINEMAN:
 4              Q.       All what this document does is
 5      indicate Anadarko E&P is Anadarko
 6      Petroleum's joinder of the operating
 7      agreement; is that correct?
 8              A.       Right.      Yes, sir.
 9              Q.       Okay.      And the document -- this
10      joinder also refers to a company called
11      MOEX Offshore 2007, LLC.                You see that?
12              A.       Yes.
13              Q.       Okay.      For purposes of the
14      deposition today, I'm going to refer to
15      that company as MOEX.              Is that okay?
16              A.       Yes.
17              Q.       Who was MOEX?
18              A.       MOEX, as I appreciate it, is a
19      subsidiary -- subsidiary of Mitsui, a
20      Japanese corporation.
21              Q.       And what was MOEX's role with
22      respect to the operating agreement?
23              A.       They were a non-operating party,
24      co-owner.
25              Q.       And they had 10 percent

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 1      interest?
 2              A.       Yes.
 3              Q.       Okay.      I'm going to come back to
 4      them in a little bit.
 5                       So, I think a minute ago, you
 6      mentioned that this -- if you turn to the
 7      front face page of the actual offering
 8      agreement, it's called the Macondo
 9      Prospect, Offshore Deepwater Operating
10      Agreement; correct?
11              A.       Yes.
12              Q.       And this document, you said, was
13      already in existence at the time you
14      executed the joinder; is that correct?
15              A.       Yes.
16              Q.       And it was in existence because
17      it had already been entered into between --
18      by and between BP and MOEX; is that
19      correct?
20              A.       Yes.
21              Q.       Did Anadarko play any role in
22      negotiating the terms of the operating
23      agreement?
24              A.       No.
25              Q.       To the best of your knowledge,

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 1      did Anadarko express any concerns or offer
 2      any changes to the operating agreement?
 3              A.       Not that I'm aware.             It was --
 4      as I appreciate it, it was executed,
 5      obviously, before we were -- we ratified
 6      it.
 7              Q.       But to -- but to your knowledge,
 8      did Anadarko ask for any changes to the
 9      operating agreement before executing the
10      joinder?
11              A.       No.
12              Q.       Do you know whose responsibility
13      it was at Anadarko to be familiar with the
14      terms of the operating agreement?
15              A.       It would've been Nick Huch.
16      Primarily, Nick is the -- kind of the lead
17      negotiator for this.
18              Q.       Have you ever read this
19      document?
20              A.       In its entirety?
21              Q.       Yes.
22              A.       I don't believe so.
23              Q.       Have you ever read portions of
24      of it?
25              A.       Yes, I have.

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 1      would be?
 2              A.       For the Gulf of Mexico, it would
 3      be Dick Keelan.
 4              Q.       Can you spell the last name for
 5      me?
 6              A.       Yes.     It's K-E-E-L-A-N, I
 7      believe.
 8              Q.       Were there any other transaction
 9      documents, besides the ones we've looked
10      at -- you know what, before you answer that
11      question, let's look at some other
12      documents that I do want to show you.
13              MR. FINEMAN:
14                       So I'm going to give you
15      document 1944.           It's Tab 5.         This
16      document -- the exhibit only includes a
17      couple of Bates-stamped numbered documents.
18      But I'm not -- I can't recall the source of
19      the other documents, the other pages.
20                       So the two pages at the end of
21      this exhibit are ANA-MDL-000020295 and 296.
22      The other pages of the exhibit do not have
23      Bates-stamp numbers.
24                       (Whereupon, the document
25      referred to was marked as Exhibit No. 1944

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 1      for identification.)
 2      EXAMINATION BY MR. FINEMAN:
 3              Q.       So I'm giving you 1944.
 4              MR. NEGER:
 5                       And are you representing that
 6      the two pages which do have Bates stamps on
 7      them are a part of the document that is not
 8      numbered?
 9              MR. FINEMAN:
10                       I'm going to ask the question.
11      For purposes of my examination, it's part
12      of one exhibit.           I'm not making
13      representations about what belongs with
14      what.        Just the way we've assembled it.
15      Hopefully, the witness can tell me.                      We can
16      separate them, too, if we need to.                     It
17      doesn't matter.
18              MR. NEGER:
19                       Okay.
20      EXAMINATION BY MR. FINEMAN:
21              Q.       Could you take a look at this
22      exhibit.        This is a letter -- the front
23      page is a letter dated February 11, 2010,
24      to MMS from Wendy Rodriguez at Anadarko;
25      correct?

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 1              A.       That is correct.
 2             Q.        And it shows it was approved on
 3      February 23, 2010; correct?
 4              A.       That is correct.
 5             Q.        And then again -- on the next
 6      page, it also shows the documents were
 7      signed by -- on behalf of BP and Anadarko
 8      Petroleum on December 17, 2009; correct?
 9              A.       That's correct.
10             Q.        And then the designation of
11      operator documents, where it shows --
12      stamped received February 23, 2010;
13      correct?
14              A.       That is correct.
15             Q.        And again, those were dated on
16      behalf of Anadarko Petroleum and Anadarko
17      E&P on December 17, 2009?
18              A.       That is correct.
19              MR. FINEMAN:
20                       This is Exhibit 1945.              Again,
21      the first page of this document does not
22      have a Bates stamp number.                The second and
23      third pages are 000023862 to 23863.
24                       (Whereupon, the document
25      referred to was marked as Exhibit No. 1945

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 1      for identification.)
 2              MR. NEGER:
 3                       Which tab is --
 4              MR. HARTLEY:
 5                       Which tab is this?
 6              MR. FINEMAN:
 7                       I'm sorry.        This is Tab 7.
 8      EXAMINATION BY MR. FINEMAN:
 9             Q.        The first -- the first page of
10      this document is a letter dated April 20,
11      2010, from Vera Wells at Anadarko E&P; is
12      that correct?
13              A.       That is correct.           This was
14      signed by Vera Wells.              The letterhead says
15      Anadarko E&P.
16             Q.        Fair enough.         And who is Vera
17      Wells?
18              A.       Vera Wells is also an analyst in
19      our group.
20             Q.        And she reports either directly
21      or indirectly to you?
22              A.       She does.
23             Q.        Okay.     And do you know what this
24      document -- this cover letter and the
25      following attached pages are?

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 1              A.       It is transmitting the -- to the
 2      MMS an assignment from Anadarko E&P Company
 3      to Anadarko Petroleum Company of 22 and a
 4      half net percent working interest.
 5             Q.        And this is that transfer that
 6      was contemplated in the Well Participation
 7      Agreement that we looked at earlier?
 8              A.       Yes.
 9             Q.        Okay.     This -- if you turn to
10      the second page, it shows that this -- this
11      is the actual assignment document; correct?
12              A.       That is correct.
13             Q.        Okay.     And it shows that it was
14      received by MMS -- stamped "received" on
15      April 21, 2010?
16              A.       Yes.
17             Q.        Is that correct?
18              A.       Uh-huh (affirmative).
19             Q.        And it shows at the bottom of
20      the page that it was approved on April 28,
21      2010?
22              A.       Correct.
23             Q.        Okay.     And the next page shows
24      that you signed the document on behalf of
25      both Anadarko E&P and Anadarko Petroleum?

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 1              A.       That is correct.
 2             Q.        And it appears that you dated
 3      the document April 15, 2010?
 4              A.       That is correct.
 5             Q.        Okay.     Do you know why it was in
 6      mid April 2010 that the document -- that
 7      you executed this document and not back in
 8      December?
 9              A.       Specifically, no.            I suspect
10      it's just probably a administrative delay.
11      It wasn't dated as timely maybe as it
12      should.       The assignment was -- you know,
13      for the second part, for the assignment
14      from ANP to APC, you really couldn't have
15      submitted that until the previous one
16      was -- was approved.
17             Q.        Okay.     And do you know why --
18      strike that.
19              MR. FINEMAN:
20                       Why don't we take a 5-minute
21      break right here?
22              MR. NEGER:
23                       Sure.
24              THE VIDEOGRAPHER:
25                       Off the record.           This is Tape 2.

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 1      participation in the initial Macondo well;
 2      correct?
 3              A.       That is correct.
 4             Q.        Okay.     Can I direct your
 5      attention to the definition of IEW or
 6      initial exploratory well?
 7              A.       Okay.
 8              MR. NEGER:
 9                       Where is that?
10              MS. FLICKINGER:
11                       It's on page 2, on the Well
12      Participation Agreement.
13              MR. NEGER:
14                       Okay.
15      EXAMINATION BY MS. FLICKINGER:
16             Q.        And the final -- it defines the
17      well currently being drilled by the
18      operator on the Macondo Prospect area and
19      any substitute wells.
20                       And then the final sentence
21      says, the interest in the IEW assigned to
22      APC consists of all tangible personal
23      property in the well, including the tubular
24      and wellhead costs as set forth in the AFE.
25                       You see that?

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 1              A.       Yes, I do.
 2             Q.        Do you have an understanding of
 3      what "tangible personal property" means?
 4              A.       In the context of the well, I
 5      can only imagine that was the -- you know,
 6      the equipment that at that time had already
 7      been installed in the well.                 You know, we
 8      were joining after the commencement of the
 9      operation.        So I don't know specifically
10      what those things would be, but I think
11      they would be those sorts of things.
12             Q.        Is tangible personal property
13      something in your capacity as land manager
14      would use -- is that a concept that you use
15      in drafting the various agreements?
16              A.       You know, I don't see that much.
17      I see that it's here, obviously, but that's
18      not a term we use a lot.
19             Q.        Are you involved in the
20      invoicing and the payments that take place
21      once the joint operating agreements are
22      completed?
23              A.       No, ma'am.
24             Q.        You're not?
25              A.       No.

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